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Statement of Harm
United States v. Jack Teixeira
(U) Introduction and Summary
(U) I submit this Declaration for the Court's consideration in advance of the sentencing
of Airman First Class Jack Douglas Teixeira (“the defendant’’), who has pled guilty to six counts
of willful retention and transmission of national defense information, in violation of 18 U.S.C. §
793(e). Although I cannot, in an unclassified statement, address the classified nature and
extent of the damage that the defendant’s actions caused, the purpose of this declaration is to
confirm for the Court that the defendant’s unlawful conduct caused exceptionally grave and

long-lasting damage to the national security of the United States.

(U) Overview of my Qualifications and Experience
(U) | am the 26th Secretary of the Air Force. ] am responsible for organizing, training,
and equipping the Department of the Air Force, including the U.S. Air and Space Forces. I have
over 50 years of experience in engineering, management, defense acquisition, and national
security affairs across private industry, government, and the military. My duties include
responsibility for Air and Space Force organizations and personnel, including the organizations

and personnel most significantly impacted by the defendant’s unlawful conduct.

(U) Impact to the U.S. Air Force and U.S. National Security
(U) At an unclassified level, I can confirm that the defendant’s unauthorized disclosure of
Top Secret information has caused exceptionally grave damage to U.S. national security and has

imposed heavy costs on the United States. As an Airman First Class Cyber Defense Operations

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Journeyman, the defendant was granted a Top Secret security clearance to provide technical
support to members of the 102d Intelligence Wing, whose mission included providing worldwide
intelligence and combat support to the U.S. Military. The defendant took an oath to support and
defend the Constitution of the United States and to obey orders according to law and regulation.
He was entrusted with safeguarding critical classified national security information to which he
gained access by virtue of his position. The defendant, through his multiple unauthorized
disclosures, repeatedly and egregiously violated that trust, violated his oath, and his actions
critically and negatively impacted the Department’s mission success and the U.S. national
security.

(CUI) The information that is now publicly available as a result of Airman First Class

Teixeira’s intentional actions and unauthorized disclosure relate to multiple categories of
information set out in Executive Order 13526,! including military plans, foreign government

information, intelligence activities, sources and methods, foreign relations, and vulnerabilities
and capabilities of systems. I have reviewed the documents the Defendant knowingly released
and highlight the far-reaching scope of the classified and national defense information that the
Defendant knowingly and dishonorably exposed. Based on my review of the material, his
actions directly aided our adversaries, damaged our alliances and partnerships, and degraded the
trust our military shares with the American people and the rest of the world. The damage the

defendant’s unauthorized disclosures caused were both immediate and enduring and will

' Executive Order 13526 prescribes a uniform system for, among other things, classifying and safeguarding
national security information. The Executive Order includes multiple categories to which classified information
must pertain.

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continue to impact the U.S. national security not just for weeks and years, but for decades to
come.

(U) As just one example of the harm that the defendant’s actions caused, in the
immediate aftermath of the defendant’s unauthorized disclosures and as a direct result of those
disclosures, there was an operational pause to the Distributed Ground Station mission in
Massachusetts where the defendant worked. This operational pause of more than 370 military,
civilian, and contractor personnel rendered the organization unable to perform its critical mission
to provide intelligence, surveillance, and reconnaissance analysis to warfighters, supported
leaders, and combatant commanders around the world. Among the missions they were unable to
perform was providing advance warnings of an enemy attack for service men and women that
are in a combat environment. The Department required military and civilians to work overtime at
other locations to minimize the impact to combat forces; those personnel bore a direct and
immediate personal cost based on the defendant’s actions. Due to the 102 Intelligence Wing’s
specialized regional focus, it took weeks to rebuild expertise that members of the 102d
Intelligence Wing had developed and maintained to support warfighters, leaders and combatant
commanders.

(U) The defendant’s actions will also have enduring effects on the Air Force more
broadly, including on recruiting and attrition. Personnel who should be working recruiting and
retention issues were diverted to investigative actions and remedial measures. The time and
resources of those personnel would have been better spent working their primary mission. This 1s
time and money we cannot get back, which should have remained focused on defending the

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(U) In choosing to unlawfully disclose the nation’s most highly classified information on
the internet, where it became available to our adversaries around the world, the defendant not
only betrayed the trust of our Nation, but also the trust our allies and partners place in our
Airmen when they share their information and intelligence with us. His release of information
regarding, among other things, the provision of equipment to Ukraine, including how the
equipment would be transferred, and how the equipment would be used upon receipt put the lives
of allies and partners at risk to potential adversary attack. His action gives allies and partners
pause before sharing future information, efforts and military planning for coordinated support to
Ukraine. Time and effort of leaders across the Department were required to restore trust and
mend damaged relationships with allies and partners, instead of building upon efforts to deter
and counter the actions of our adversaries.

(U) The defendant also violated his oath as a U.S. Air National Guardsman to support and
defend the Constitution against ‘‘all enemies, foreign and domestic.” His release of a government
document discussing a plot by a foreign adversary to target U. S. forces abroad impacts our
ability to protect other military forces by providing our adversaries insight into the sources and
methods we use to inform our protection of those forces. While I have highlighted the
ramifications and impacts of a few of the specific charged documents as part of the plea
agreement, the defendant has acknowledged his relevant conduct was an expansive violation of
trust and his cath.

(U) To further articulate the enduring harm the defendant caused, three senior officials
from the Department of the Air Force have each submitted a classified declaration providing
additional details on the impact of the defendant’s actions to the United States Air Force and U.S.

National Security. Those individuals represent: (1) the Deputy Chief of Staff for Intelligence,

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Surveillance, Reconnaissance and Cyber Effects Operations, (2) Air Combat Command, and the
(3) Office of the Administrative Assistant. | have reviewed their declarations and concur with the
facts as stated and the conclusions reached by those declarants. I urge you to strongly consider
the significant harms the defendant caused to the United States Air Force, the Department of
Defense, and U.S. National Security when making your sentencing determination.

* # *

(U) I declare under penalty of perjury under the laws of the United States of America that

Honorable Frank Kendall, III ™

26" Secretary of the Department of the Air
Force

the foregoing is true and correct.

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